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                         UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
16
                       WESTERN DIVISION AT LOS ANGELES
17
     BROIDY CAPITAL MANAGEMENT LLC,
18   and ELLIOTT BROIDY,                              Case No. 2:18-CV-02421-JFW-E
19                           Plaintiffs,              The Honorable John F. Walter
20         v.                                         REPLY MEMORANDUM IN
                                                      SUPPORT OF STONINGTON
21   STATE OF QATAR, STONINGTON                       DEFENDANTS’ MOTION TO
     STRATEGIES LLC, NICOLAS D. MUZIN,                DISMISS THE FIRST
22   GLOBAL RISK ADVISORS LLC, KEVIN                  AMENDED COMPLAINT
     CHALKER, DAVID MARK POWELL,
23   MOHAMMED BIN HAMAD BIN
     KHALIFA AL THANI, AHMED AL-
24   RUMAIHI, and DOES 1-10,
25                           Defendants.
26
                                               Hearing Date: August 13, 2018
27                                             Hearing Time: 1:30 p.m.
                                               Courtroom: 7A
28
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 1                                    INTRODUCTION
 2        Plaintiffs’ Opposition confirms that their claims against the Stonington
 3   Defendants are baseless. After months of third-party discovery and 95 subpoenas—
 4   which generated thousands of pages of documents and a seven-hour deposition—
 5   there is still nothing to suggest that the Stonington Defendants had anything to do
 6   with the alleged hacking conspiracy. Notwithstanding repeated mischaracterizations
 7   of their allegations, Plaintiffs’ citations to the First Amended Complaint (“FAC”)
 8   make clear that they have utterly failed to allege that the Stonington Defendants (a)
 9   accessed Plaintiffs’ computers, (b) received or distributed stolen information from
10   Plaintiffs’ computers, or (c) entered into an agreement with Qatar to assist in any such
11   actions. Plaintiffs use the deficient FAC to embark on a fishing expedition in a Court
12   that lacks jurisdiction at substantial cost to Defendants and the Court. Plaintiffs have
13   had ample opportunity to make their case, and they have failed. The FAC should be
14   dismissed with prejudice.
15                                       ARGUMENT
16   I.   THE STONINGTON DEFENDANTS ARE IMMUNE FROM SUIT.
17         Qatar is immune from suit under the Foreign Sovereign Immunities Act
18   (“FSIA”). Dkt. 112-1 at 10-20. Plaintiffs do not dispute that they have alleged that
19   the Stonington Defendants acted as Qatari agents at Qatar’s direction pursuant to a
20   contract registered under the Foreign Agents Registration Act (“FARA”). The
21   Stonington Defendants are thus derivatively immune from suit or immune as
22   diplomatic agents of Qatar. Plaintiffs’ legal arguments to the contrary—which
23   mischaracterize the relevant case law—are without merit.
24        A.     Plaintiffs Fail to Distinguish Settled Law that Entitles the Stonington
25               Defendants to Derivative Sovereign Immunity.
26         Agents of a foreign sovereign “enjoy derivative immunity when following the
27   commands” of the foreign sovereign. Butters v. Vance Int’l Inc., 225 F.3d 462, 466
28   (4th Cir. 2000) (citing Alicog v. Kingdom of Saudi Arabia, 860 F. Supp. 379 (S.D.

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 1   Tex. 1994)). Plaintiffs allege that the Stonington Defendants acted as Qatar’s agents
 2   and at Qatar’s direction pursuant to a contract with Qatar to “shift U.S. policy” and
 3   “influenc[e] public opinion” regarding Qatar. Dkt. 171 at 1-2. The Stonington
 4   Defendants are thus plainly entitled to derivative sovereign immunity. Butters, 225
 5   F.3d at 466 (citing Yearsley v. W.A. Ross Constr. Co., 309 U.S. 18, 21-22 (1940)).
 6         Plaintiffs’ perfunctory attempt to distinguish this case law fails. Though the
 7   Supreme Court’s Yearsley decision did involve U.S. sovereign immunity as Plaintiffs
 8   note, see Dkt. 171 at 5, Butters expressly relied on Yearsley in extending immunity to
 9   a U.S. contractor acting at the direction of a foreign sovereign. Butters, 225 F.3d at
10   466 (“It is but a small step to extend [Yearsley immunity] to the private agents of
11   foreign governments.”).      And although the Stonington Defendants’ contract to
12   “develop[] and implement[] a government relations strategy for the State of Qatar,”
13   Dkt. 31-9, Ex. 19, at 100, did not involve security as in Butters, see Dkt. 171 at 5, it
14   did involve a different, but still “quintessential,” sovereign function: Qatar’s
15   diplomacy in the Unites States. See Butters, 225 F.3d at 465; Joseph v. Office of
16   Consulate General of Nigeria, 830 F.2d 1018, 1024 (9th Cir. 1987) (“An activity is
17   public and noncommercial if it is one which only a sovereign state can perform.”
18   (internal quotations and citations omitted)).
19         Plaintiffs’ reliance on Samantar v. Yousuf, 560 U.S. 305 (2010), is misplaced
20   for many reasons. As an initial matter, Samantar has nothing to do with derivative
21   sovereign immunity. Rather, it addresses the scope of direct foreign sovereign
22   immunity under the FSIA, expressly leaving derivative sovereign immunity doctrines
23   intact. Id. at 322 (“[I]n some circumstances the immunity of the foreign state extends
24   to an individual for acts taken in his official capacity.”). Plaintiffs compound this
25   error by mistakenly suggesting that questions of sovereign immunity may only be
26   answered through the FSIA. See Dkt. 171 at 5. This is not so. Cf. Samantar, 560
27   U.S. at 324 (“Even if a suit is not governed by the Act, it may still be barred by foreign
28   sovereign immunity under the common law.”).

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 1         Plaintiffs also inappropriately ascribe import to the timing of the Samantar
 2   decision, implying that it somehow negates Butters. To the contrary, the Fourth
 3   Circuit’s panel decision in Samantar—which the Supreme Court affirmed—made no
 4   mention of Butters, see generally Yousuf v. Samantar, 552 F.3d 371 (4th Cir. 2009),
 5   and therefore could not have overruled Butters. See Brown v. McLean, 159 F.3d 898,
 6   905 (4th Cir. 1998) (only en banc court can overturn a previous panel’s published
 7   decision). Thus, Samantar did nothing to change the derivative sovereign immunity
 8   landscape, as even after Samantar, courts continue to apply Butters in derivative
 9   sovereign immunity cases. See Moriah v. Bank of China Ltd., 107 F. Supp. 3d 272,
10   276 n.25, 277 n.34 (S.D.N.Y 2015) (citing Samantar and quoting Butters to explain
11   that it is “well-settled law that contractors and common law agents acting within the
12   scope of their employment . . . have derivative sovereign immunity”).
13         In any event, Samantar did not “h[o]ld,” as Plaintiffs contend, Dkt. 171 at 6,
14   that courts must look to State Department policy to determine immunity where there
15   is no “Suggestion of Immunity” from the State Department. Instead, Samantar
16   explained that “[a]fter the enactment of the FSIA, the Act . . . indisputably governs
17   the determination of whether a foreign state is entitled to sovereign immunity.”
18   Samantar, 560 U.S. at 313. Indeed, one of the driving purposes of the FSIA was “to
19   transfer primary responsibility for deciding ‘claims of foreign states to immunity’
20   from the State Department to the courts.” Id. There is thus no need, as Plaintiffs have
21   argued, to seek a Statement of Interest from the State Department in this case.
22         Finally, Plaintiffs’ argument that derivative sovereign immunity does not apply
23   here because “Qatar’s relationship with [the Stonington Defendants] is commercial in
24   nature,” Dkt. 171 at 6, is nothing more than an attempt to get a second bite at the apple
25   with respect to Qatar’s immunity. Because the commercial exception does not apply
26   to Qatar, Dkt. 112-1 at 10-20, it is immune under the FSIA. And because Qatar is
27   immune, the Stonington Defendants are derivatively immune.
28         Regardless, Qatar’s relationship with the Stonington Defendants does not fall

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 1   within the commercial activity exception. As part of their work for Qatar, the
 2   Stonington Defendants met with U.S. government officials on Qatar’s behalf, and
 3   “had weekly meetings at the Embassy of Qatar” with Qatari officials. FAC ¶¶ 69-70,
 4   88. This diplomatic conduct is fundamentally noncommercial in character. See MOL
 5   Inc. v. Peoples Republic of Bangladesh, 736 F.2d 1326, 1329 (9th Cir. 1984)
 6   (Bangladeshi contract constituted a non-commercial, sovereign activity because the
 7   agreement was one “only a sovereign could have made”).
 8         Plaintiffs’ “commercial exception” cases are distinguishable. In Holden v.
 9   Canadian Consulate, the Ninth Circuit held that appellant’s work was a commercial
10   activity because it involved “promoting and marketing” efforts “regularly done by
11   private persons,” and not “any policy-making,” “lobbying,” or “governmental policy
12   deliberations,” like the Stonington Defendants did here. 92 F.3d 918, 922 (9th Cir.
13   1996). Likewise, in Joseph, the relevant activity—entering into a lease agreement—
14   was “a commercial transaction,” because entering into such agreements is the kind of
15   activity “in which a private party might engage.” 830 F.2d at 1024. But Joseph
16   confirmed that where, as here, “[a]n activity is . . . one which only a sovereign state
17   can perform,” such as diplomacy, it is “public and ‘noncommercial’” in nature. Id.
18        B.     Plaintiffs Fail to Demonstrate that the Stonington Defendants are Not
19               Diplomatic Agents.
20         The Stonington Defendants are also entitled to diplomatic agent immunity
21   under the Vienna Convention on Diplomatic Relations (“VCDR”), Apr. 18, 1961, 23
22   U.S.T. 3227, and the Diplomatic Relations Act, 22 U.S.C. § 254d, because they (1)
23   engaged in the function of a diplomatic mission on behalf of Qatar such that they were
24   diplomatic agents; and (2) satisfied the State Department’s notice requirement by
25   registering with FARA. Accordingly, they must be dismissed from this suit. Brzak
26   v. United Nations, 597 F.3d 107, 113 (2d Cir. 2010).
27         Plaintiffs do not dispute that individuals engaging in the function of a
28   diplomatic mission—e.g., “ascertaining” conditions and developments in the

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  1   receiving state and “reporting thereon” to the sending State, “promoting friendly
  2   relations” between States, and “developing their economic [and] cultural relations”
  3   VCDR, art. 3(d)-(e)—are diplomatic agents. Accordingly, the Stonington Defendants
  4   are diplomatic agents because this is precisely the type of work that Plaintiffs allege
  5   the Stonington Defendants performed for the Qatari Embassy. See FAC ¶¶ 64-69, 88.
  6         Moreover, in arguing that the absence of a Suggestion of Immunity from the
  7   State Department precludes immunity, Plaintiffs ignore the State Department’s role
  8   under FARA. By statute, one engaged “in political activities for or in the interests
  9   of” a foreign government must file a registration statement with the Attorney General.
10    22 U.S.C. §§ 611(c), 612(a). The registration statement must include a copy of the
11    written agreement with the foreign principal, thereby indicating the activities engaged
12    in on behalf of the foreign principal. Id. § 612(a). And the Attorney General must
13    promptly transmit such registrations to the Secretary of State. Id. § 616(b). FARA
14    registration thus (1) provides the mechanism through which the United States
15    consents to the appointment of United States nationals as diplomatic agents of a
16    foreign government,1 and (2) serves as notice that a United States national is engaging
17    in diplomatic functions on behalf of a foreign state.
18          Here, the Stonington Defendants’ FARA registration explained that the
19    Stonington Defendants engaged in “political activity”—including “communications
20    with Executive Branch officials, Members of Congress . . . and other individuals and
21    organizations involved in governmental or public policy matters” on behalf of the
22    Embassy of the State of Qatar. Dkt. 31-9, Ex. 19, at 98-99. It enclosed a copy of the
23    Stonington Defendants’ consultancy agreement with the Qatari embassy, indicating
24    the Stonington Defendants’ task of “develop[ing] and implement[ing] a government
25    relations strategy for the State of Qatar.” Dkt. 31-9, Ex. 19 at 100. The State
26
27
      1
       The fact that FARA does not require “accredited diplomatic or consular officer[s]
      of a foreign government” to register is irrelevant. 22 U.S.C. § 613(a). Such officials
28    need not register under FARA because the United States is already on notice that they
      engage in diplomatic activities on behalf of a foreign state.
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  1   Department thus had notice that the Stonington Defendants were engaged as
  2   diplomatic agents. The State Department did nothing to withdraw its consent to the
  3   Stonington Defendants’ diplomatic work on Qatar’s behalf. VCDR, art. 8(2). The
  4   Stonington Defendants are thus entitled to diplomatic immunity from suit.2
  5   II.   THIS COURT LACKS PERSONAL JURISDICTION OVER THE
  6         STONINGTON DEFENDANTS.
  7         Plaintiffs appear to concede, contrary to their prior position, Dkt. 89 at 14; Dkt.
  8   99-1 at 7, that they cannot establish personal jurisdiction simply by alleging that the
  9   Stonington Defendants “targeted” Plaintiffs, who happen to reside in California.
10    They do so for good reason: more is required under the binding law of this Circuit.
11    See Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1070 (9th Cir. 2017)
12    (holding that a “theory of individualized targeting . . . will not, on its own, support the
13    exercise of specific jurisdiction” (citation omitted)). Instead, Plaintiffs argue that they
14    have sufficiently alleged that the Stonington Defendants “targeted Broidy in this
15    District.” Dkt. 171 at 10. In doing so, Plaintiffs repeatedly mischaracterize the FAC’s
16    allegations. Indeed, the specific paragraphs Plaintiffs rely upon to support personal
17    jurisdiction utterly fail to allege that the Stonington Defendants took any unlawful
18    action in or directed at California.
19          At bottom, Plaintiffs contend that personal jurisdiction exists because the
20    Stonington Defendants obtained materials “sourced” from California and
21    disseminated those materials to national media outlets with large California
22    readerships. See Dkt. 171 at 10-11. But the FAC makes no such allegations with
23    respect to the Stonington Defendants. Though the FAC alleges that the hacked
24    materials came from California, see Dkt. 171 at 11, it does not allege that the
25
      2
       In re Grand Jury Subpoenas Returnable Dec. 16, 2015, 871 F.3d 141, 145 (2d Cir.
26    2017), does not, as Plaintiffs claim, Dkt. 171 at 9, undermine the Stonington
27    Defendants’ arguments. In that case, the diplomatic immunity of Chinese
      construction workers was governed both by the VCDR and a Diplomatic Note which
28    imposed a separate registration requirement on such construction personnel. Id. at
      145. No such independent agreements govern here.
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  1   Stonington Defendants participated in the hack or obtained hacked materials at all, let
  2   alone that they obtained them directly from California (as opposed to, e.g., from
  3   reporters or somewhere in the public domain), see id. Plaintiffs cite a litany of FAC
  4   paragraphs purportedly establishing dissemination, see id. at 10-13, but the vast
  5   majority do not even mention the Stonington Defendants,3 and not a single one states
  6   that the Stonington Defendants disseminated hacked material to the media.4 In
  7   short, the FAC’s allegations do not establish any contacts with California.5
  8         As a result, this case is nothing like Calder v. Jones, 465 U.S. 783 (1984). In
  9   Calder, the defendant reporters acquired information directly from sources located in
10    California and published a story using that information in their employer’s
11    publication, which had a substantial California readership. Id. at 785-86. There was
12    no question that the story’s harm would be felt most deeply in California, the location
13    where the story’s subject—a Hollywood actress—made her career. Id. at 788. Here,
14    the FAC alleges at most that the Stonington Defendants “targeted” Broidy in
15    Washington as a means of countering Broidy’s influence in Washington on President
16    3
        Plaintiffs do not—and cannot—dispute that allegations against “Defendants” or
17    “Agent Defendants” are insufficient to establish personal jurisdiction. See, e.g., Head
      v. Las Vegas Sands, LLC, 298 F. Supp. 3d 963, 973 (S.D. Tex. 2018) (“[A] plaintiff
18    must submit evidence supporting personal jurisdiction over each defendant, and
      cannot simply lump them all altogether.” (citing Calder, 465 U.S. at 790)).
19    4
        Plaintiffs allege, for example, that the Stonington Defendants had contact with a
20    reporter from McClatchy, who then published an article about Plaintiffs. FAC ⁋⁋ 131-
      132. But that article did not make reference to any hacked materials, see Ben Wieder
21    & Peter Stone, GOP leans on rainmaker who courts controversy on two continents,
      McClatchy (Feb. 7, 2018), https://www.mcclatchydc.com/news/politics-
22    government/article198952434.html, and Plaintiffs do not even allege as much.
23
      5
        Plaintiffs’ reliance on telephone records collected in discovery is both improper at
      this stage and unavailing. Dkt. 171 at 11 (citing ECF No. 90-1 ¶ 11). The Stonington
24    Defendants have not contested the veracity of the jurisdictional allegations in
      Plaintiffs’ FAC; they have contested their sufficiency. Thus, Plaintiffs cannot resort
25    to extrinsic evidence in defense of this facial challenge. See Boschetto v. Hansing,
      539 F.3d 1011, 1015 (9th Cir. 2008). Moreover, the phone records do not demonstrate
26    that Dr. Muzin had any contact with reporters regarding Plaintiffs, let alone that he
27    provided information from Plaintiffs’ hacked emails, as would be necessary to
      support personal jurisdiction here. And, none of those reporters are from California,
28    and thus the calls do not suggest that Dr. Muzin used California “sources.”

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  1   Trump and Congress. E.g., FAC ¶¶ 40, 74, 75, 86 (Broidy “funded at least two high-
  2   profile conferences in Washington, D.C. devoted to scrutiny of the State of Qatar”).6
  3         Nor can Plaintiffs establish personal jurisdiction by alleging a conspiracy.
  4   Regardless of whether the Ninth Circuit has ever addressed Plaintiffs’ “conspiracy
  5   theory of personal jurisdiction,” Dkt. 171 at 13, California law—i.e., the law which
  6   Plaintiffs allege governs this case—“does not recognize conspiracy as a basis for
  7   acquiring jurisdiction over a foreign defendant.”      EcoDisc Tech. AG v. DVD
  8   Format/Logo Licensing Corp., 711 F. Supp. 2d 1074, 1089 (C.D. Cal. 2010) (citations
  9   omitted). Plaintiffs cannot haul the Stonington Defendants across the country simply
10    by alleging that they conspired with parties who have sufficient forum connections.
11    The case should be dismissed for lack of personal jurisdiction.
12    III. THE FAC FAILS TO STATE A CLAIM.
13          Plaintiffs’ Opposition confirms that their entire case against the Stonington
14    Defendants is based on the “three vague and cryptic conversations” that allegedly
15    occurred between Dr. Muzin and Broidy’s associate, Joel Mowbray. See Dkt. 37 at
16    3. Indeed, in denying that the FAC is a shotgun pleading, see Dkt. 171 at 13-14,
17    Plaintiffs do not seriously dispute that their allegations against “Agent Defendants”
18    are deficient, or that it was improper to incorporate all paragraphs against all
19    Defendants into each count. Instead, they point to the Mowbray allegations. See Dkt.
20    171 at 14 (citing FAC ⁋⁋ 11-12, 131-138).7
21
      6
        It is also important to note that in Calder, the communication of the article was a
22    necessary element of libel. As the Supreme Court explained in Walden v. Fiore, that
23    contact with the forum state—not the defendant’s intent or the foreseeability of the
      plaintiff’s injury—created the connection between the defendant and California. 571
24    U.S. 277, 288 (2014). By contrast, Plaintiffs do not allege any California contacts by
      the Stonington Defendants’ relating to an element of Plaintiffs’ claims.
25    7
        Plaintiffs also cite FAC ⁋ 90, which describes the November 2017 increase in the
      Stonington Defendants’ compensation and alleges “[o]n information and belief” that
26    the increase was compensation for Dr. Muzin’s role in the alleged scheme. See Dkt.
27    171 at 14. Putting aside that this compensation increase does not raise a reasonable
      inference that the Stonington Defendants participated in the alleged hack, allegations
28    based on “information and belief” are “insufficient as a matter of law.” Tarantino v.
      Gawker Media, LLC, No. CV 14-603-JFW, 2014 WL 2434647, at *5 n. 4 (C.D. Cal.
                                                 8
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  1         These allegations do not save the FAC. Not only do they fail to remedy the
  2   improper shotgun allegations that form the foundation of the FAC, see Dkt. 129-1 at
  3   13, they also fail to establish that the Stonington Defendants accessed Plaintiffs’
  4   computers or received stolen information. As a result, the Stonington Defendants
  5   cannot be directly liable under Counts I-IX, and those claims should be dismissed.
  6         Moreover, the Mowbray allegations fail to establish a conspiracy. Specifically,
  7   they do not demonstrate that the Stonington Defendants entered into an agreement
  8   with Qatar to hack or disseminate stolen materials. Thus, the conspiracy claims
  9   should be dismissed as well.
10         A.     Counts I-IX Fail Because Plaintiffs Do Not Allege that the Stonington
11                Defendants Accessed, Received, or Possessed Plaintiffs’ Emails.
12          Plaintiffs do not dispute that Counts I, III, and V-IX apply only to primary
13    actors. And they essentially concede that they have not alleged that the Stonington
14    Defendants accessed, received, or possessed Plaintiffs’ emails or information. See
15    Dkt. 171 at 15 (alleging that the Stonington Defendants identified Plaintiffs as threats
16    and conspired to hack Plaintiffs’ computers and disseminate stolen information to
17    news groups), 20-21 (same). Thus, those counts should be dismissed.
18          Contrary to Plaintiffs’ contention, Count II—Plaintiffs’ CDAFA claim—also
19    applies only to primary actors. California Penal Code § 502(c)(6) does not “subject
20    individuals or entities to liability who took no active role in tampering with, or in
21    gaining unauthorized access to computer systems.” Claridge v. RockYou, Inc., 785
22    F. Supp. 2d 855, 863 (N.D. Cal. 2011). Thus, Count II should be dismissed as well.
23          Finally, although Count IV—intrusion upon seclusion—does not limit liability
24    to primary actors, Plaintiffs have failed to demonstrate that the Stonington Defendants
25    “gave substantial assistance or encouragement” to the individuals who hacked
26
27    Apr. 22, 2014). Moreover, the remaining paragraphs cited by Plaintiffs that
      “specifically mention[]” the Stonington Defendants have nothing to do with the
28    hacking, receipt, possession, or distribution of Plaintiffs’ emails. Dkt. 171 at 14
      (citing FAC ⁋⁋ 9-13, 62-71, 73, 78, 80-82, 84-85, 87-91, 101-102, 122, 128).
                                                9
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  1   Plaintiffs’ computers. See Opperman v. Path, Inc., 84 F. Supp. 3d 962, 985 (N.D.
  2   Cal. 2015). Indeed, the Mowbray allegations plainly do not allege that the Stonington
  3   Defendants assisted with the hack. Count IV should also be dismissed.
  4         That Counts I-IX could be subject to a conspiracy claim is beside the point.
  5   See, e.g., Dkt. 171 at 16 n.13. To be sure, allegations of wrongdoing against co-
  6   conspirators can subject all conspirators to liability. However, there is a difference
  7   between alleging conspiracy, which requires an agreement, and alleging direct
  8   liability. See, e.g., In re Kolb, No. 97-32321, 2007 WL 1577950, at *15 (N.D. Cal.
  9   Bankr. May 31, 2007) (explaining that the difference between conspiracy and aiding
10    and abetting liability is “not merely semantic”). The point—which Plaintiffs miss
11    entirely—is that Counts I-IX can be dismissed as to the Stonington Defendants
12    because the FAC utterly fails to demonstrate direct liability.8
13         B.     Count X Fails Because Plaintiffs Have Not Alleged a Conspiracy to
14                Access, Receive, or Possess Their Emails.
15         Plaintiffs also fail to plead a conspiracy involving the Stonington Defendants.
16    Recognizing that their allegations are utterly deficient, Plaintiffs cite Arei II Cases,
17    157 Cal. Rptr. 3d 368 (Cal. Ct. App. 2013), to suggest that that they can establish a
18    conspiracy claim without pleading an agreement. See Dkt. 171 at 23. But that case
19    adopts the standard cited by the Stonington Defendants. See Dkt. 129-1 at 21.
20    Plaintiffs must plead facts sufficient to show that “each member of the conspiracy
21    acted in concert and came to a mutual understanding to accomplish a common and
22    unlawful plan.” Choate v. Cty. of Orange, 103 Cal Rptr. 2d 339, 353 (Cal. Ct. App.
23    8
        As explained in the Stonington Defendants’ opening brief, Counts I-IX should be
24    dismissed for a variety of additional reasons. Dkt. 129-1 at 14-25. In response,
      Plaintiffs generally mischaracterize relevant case law. See, e.g., Dkt. 171 at 21
25    (mischaracterizing Meggitt San Juan Capistrano, Inc. v. Yongzhong, 575 F. App’x
      801, 803 (9th Cir. 2014) (Plaintiffs must “identify a trade secret ‘with reasonable
26    particularity’ prior to commencing discovery” (citation omitted))). And Plaintiffs’
27    contention that their common law claims (Counts III, IV, V, and X) are not preempted
      by CUTSA fails because those claims are “based on the same nucleus of facts” as the
28    trade secret claims. Chang v. Biosuccess Biotech Co., 76 F. Supp. 3d 1022, 1041
      (C.D. Cal. 2014).
                                               10
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  1   2000) (citation omitted). Knowledge of a wrongful act is not enough; the co-
  2   conspirators “had to agree—expressly or tacitly—to achieve it.” Id.
  3         Plaintiffs have failed entirely to plead the existence of an agreement here.
  4   Plaintiffs’ conclusory allegations of “conspiracy,” see Dkt. 171 at 23 (citing FAC ⁋⁋
  5   92, 126, 129), are insufficient as a matter of law. Bell Atlantic Corp. v. Twombly, 550
  6   U.S. 544, 555 (2007) (holding that courts need not credit “formulaic recitation[s] of
  7   the elements of [the] cause of action”). And the Mowbray allegations, see Dkt. 171
  8   at 23 (citing ⁋⁋ 11-12, 131-138), do not plausibly demonstrate a conspiracy. Indeed,
  9   Plaintiffs allege that Dr. Muzin disclaimed any involvement in the alleged hacking,
10    FAC ¶ 122, and he was “doing his job” as a diplomatic agent of Qatar when he
11    discussed Broidy with the Qataris as an influential critic against whom they would
12    need to lobby. Plaintiffs have no response to this Court’s finding that “it appears just
13    as likely that Muzin became aware of the press’s interest in Plaintiffs through his own
14    conversations with various reporters and members of the press.” Dkt. 37 at 3. Thus,
15    the allegations do not “nudge[] [Plaintiffs’] claims” of conspiracy “across the line
16    from conceivable to plausible.” Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009).9
17    IV. THE STONINGTON DEFENDANTS SHOULD BE DISMISSED WITH
18         PREJUDICE.
19          Recognizing the fatal deficiencies in the FAC, Plaintiffs have made five
20    requests for additional discovery for purposes of amending their claims. See, e.g.,
21    Dkt. 171 at 1 n.1, 3 n.4, 12 n.10, 13, 25. These requests should be denied, and the
22    Stonington Defendants should be dismissed with prejudice.
23          First, dismissal with prejudice is appropriate because on the face of the FAC,
24    the Court lacks jurisdiction. That is, even if every allegation in the FAC is true, the
25
      9
        Plaintiffs concede that they failed to bring a claim for conspiracy to violate the
26    CFAA, Dkt. 171 at 15 n.12, and they do not dispute that the CFAA’s conspiracy
27    provision preempts their common law conspiracy claim regarding the CFAA, id. at
      24-25. The Court should deny Plaintiffs’ request to bring a statutory conspiracy claim
28    under the CFAA, as Plaintiffs have no excuse for not raising it sooner and did not
      seek to amend the FAC after this issue was raised during the parties’ meet and confer.
                                               11
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  1   Stonington Defendants are immune from suit, and this Court lacks personal
  2   jurisdiction. Thus, there is no basis for jurisdictional discovery, which is appropriate
  3   only where a defendant challenges the truth of the jurisdictional allegations. See
  4   Butcher’s Union Local No. 498 v. SDC Inv., Inc., 788 F.2d 535, 540 (9th Cir. 1986).
  5         Second, dismissal with prejudice is appropriate for failure to state a claim. Not
  6   only have Plaintiffs already substantially amended their complaint, but they have
  7   conducted significant third-party discovery in the past three months, which makes
  8   clear that amendment would be futile. For example, Dr. Muzin’s phone records
  9   exonerate the Stonington Defendants. As Plaintiffs admit, the first newspaper stories
10    regarding Broidy appeared on March 1, 2018, FAC ¶ 121, and the supposedly
11    “critical” contacts with reporters occurred “between March 12, 2018 and May 8,
12    2018,” Dkt. 87 at 2—long after articles about Broidy became public, and at the precise
13    time that one would expect reporters to contact the registered lobbyist of Qatar. The
14    absence of calls prior to March 1 demonstrates that Dr. Muzin had no inside
15    knowledge about an alleged hack. There is thus simply no reason to allow Plaintiffs
16    to waste any more of the Stonington Defendants’ or this Court’s time by amending.
17                                       CONCLUSION
18          For the foregoing reasons and those discussed in the Stonington Defendant’s
19    opening brief, as well as for the reasons discussed in Qatar’s briefs regarding Federal
20    Rule of Civil Procedure 19, Dkt. 112-1 at 21-24; Dkt. 152 at 9-11, Plaintiffs’ First
21    Amended Complaint should be dismissed.
22
23    Dated: July 30, 2018                           Respectfully submitted,
24                                                   WILEY REIN LLP
25                                                   LECLAIRRYAN LLP
26                                                   By: Stephen J. Obermeier
27                                                       Stephen J. Obermeier
28

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